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                          UNITED STATES DISTRICT COURT
                           DISTRICT OF MASSACHUSETTS




In Re: DAILY FANTASY SPORTS                        MDL No. 1:16-MD-02677-GAO
LITIGATION


       This Document Relates To:
       All Actions




                               NOTICE OF APPEARANCE

       Please enter the appearance of David F. McDowell, Morrison & Foerster LLP,

707 Wilshire Boulevard, Suite 6000, Los Angeles, CA 90017-3543, on behalf of Defendants

FanDuel, Inc. and FanDuel Deposits, LLC in the above-captioned matter.



Dated: March 3, 2016                        Respectfully submitted,

                                            FANDUEL, INC. and FANDUEL DEPOSITS, LLC


                                            By their counsel,
                                            MORRISON & FOERSTER LLP


                                            By: /s/ David F. McDowell
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on this 3rd day of March 2016, the foregoing document was

electronically filed with the Clerk of the Court using the CM/ECF system and will be sent

electronically to the registered participants as identified on the Notice of Electronic Filing (NEF),

pursuant to Local Rule 5.4(C).


Dated: March 3, 2016
                                                          /s/ David F. McDowell
                                                              David F. McDowell




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